If this were what it is represented to be by defendant's counsel — a contract made between plaintiff and defendant, to vest the property in defendant for the purpose of defeating creditors, and then to be for the use of the plaintiff — I should not hesitate to say, with him, that this Court would not enforce the return of the property. But this is not that case. He permitted the defendant to purchase the slave *Page 228 
in question, and to pay for him at a low price, with a promise on the part of the defendant to return him whenever the plaintiff could reimburse him. He has tendered the money, and my opinion is he should have back his negro.
Decree accordingly.
NOTE. — See Smith v. __________, ante, 229, and the cases referred to in the note thereto. See, also, McBrayer v. Roberts, 17 N.C. 78;Fleming v. Sitton, 621; Chambers v. Hise, 22 N.C. 305; Munnerlin v.Birmingham, ibid., 358; Poindexter v. McCannon, 16 N.C. 373; Newsom v.Roles, 23 N.C. 179.